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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

 JANE DOE-2,                                   )
                                               )
                       Plaintiff,              )                      3:20-cv-02274-CMC
                                                          C.A. No.: _______________
                                               )
 vs.                                           )
                                               )
 RICHLAND     COUNTY   SCHOOL                  )
 DISTRICT 2, JEFF TEMONEY,                     )
 SHERIFF OF RICHLAND COUNTY IN                 )
 HIS OFFICIAL CAPACITY D/B/A                   )
                                                                 COMPLAINT
 RICHLAND COUNTY SHERIFF’S                     )
 DEPARTMENT, SHERIFF LEON                      )
                                                             (Jury Trial Requested)
 LOTT, and CAPTAIN JOHN E.                     )
 EWING,                                        )
                                               )
                       Defendants.             )
                                               )

        COMES NOW the Plaintiff, Jane Doe-2, by and through her undersigned counsel, and

hereby brings the following Complaint against Richland County School District 2, Jeff Temoney,

Sheriff of Richland County Sheriff’s Department in his Official Capacity d/b/a Richland County

Sheriff’s Department, Sheriff Leon Lott, and Captain John E. Ewing, and alleges as follows:

                                           PARTIES

        1.     Plaintiff Jane Doe-2 is a citizen and resident of Richland County, South Carolina.

At all times mentioned herein, Jane Doe-2 was a student enrolled at Spring Valley High School

located within Richland County School District 2. During the events detailed herein, Jane Doe-2

was seventeen (17) years of age. Plaintiff is currently under the age of 27 years old, and at all

times mentioned herein was a minor pursuant to S.C. Code Ann. § 15-3-555 (2012).

        2.     Plaintiff is filing this action by way of a pseudonym due to the sensitive nature of

the subject matter of this action, which involves dozens of separate and distinct acts of criminal



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sexual abuse, molestation, and sexual assault, all of which occurred while Plaintiff was a minor

high school student at Spring Valley High School. South Carolina Code Ann. § 16-3-730 (2012)

prohibits publication of the names of victims of criminal sexual conduct. Plaintiff’s identity will

be provided directly to counsel for the additional Defendants, and the use of a pseudonym is the

subject of a separate motion filed simultaneously herewith.

        3.      Defendant Richland County School District 2 is a political subdivision of the State

of South Carolina, existing under the laws of the State of South Carolina (as defined by Section

15-78-10 of the Code of Laws of South Carolina (1985), as amended). At all times hereinafter

mentioned in this Complaint, Defendant Richland County School District 2 operated and

maintained Spring Valley High School, a public high school operating with the Richland County

School District 2. This Defendant acted and carried on its business by and through its agents,

servants, and/or employees who were operating within the scope of their officially assigned and/or

compensated duties.

        4.      Defendant Jeff Temoney is the principal of Spring Valley High School and an

employee of Richland County School District 2. For purposes of this action, Principal Temoney

is being sued in his individual capacity under the color of state law. Additionally, during the time-

period in question, Defendant Temoney was well-aware of Jane Doe-2’s constitutional rights;

including her right to due process, her right to the possession and control of her own person, her

right to bodily integrity, her right to be free from any violations of her liberty interest, and her right

to attend school in a non-hostile learning environment.

        5.      Defendant Sheriff of Richland County in his Official Capacity d/b/a Richland

County Sheriff’s Department (hereinafter referred to as “Richland County Sheriff’s Department”)

is a political subdivision of the State of South Carolina, existing under the laws of the State of



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South Carolina (as defined by Section 15-78-10 of the Code of Laws of South Carolina (1985), as

amended). At all times hereinafter mentioned in this Complaint, Defendant Richland County

Sheriff’s Department acted and carried on its business by and through its agents, servants, and/or

employees who were operating within the scope of their officially assigned and/or compensated

duties.

          6.    Upon information and belief, Sheriff Leon Lott is a resident of South Carolina and

was acting as an agent, servant and/or employee of Richland County Sheriff’s Department during

the time-period in question. Specifically, at all times relevant hereto, Sheriff Lott was the

supervising and commanding officer of former deputy Jamel Bradley and Captain John E. Ewing,

and was responsible for their training, supervision, discipline, and conduct. For purposes of this

action, Sheriff Lott is being sued in his individual capacity under the color of state law.

Additionally, during the time-period in question, Sheriff Lott was well-aware of Jane Doe-2’s

constitutional rights; including her right to due process, to the possession and control of her own

person, her Fourteenth Amendment right to bodily integrity, and to be free from any violations of

her liberty interest.

          7.    Upon information and belief, Captain John E. Ewing, Jr. is a resident of South

Carolina and was acting as an agent, servant and/or employee of Richland County Sheriff’s

Department during the time-period in question. Specifically, at all times relevant hereto, Captain

Ewing was the supervising and commanding officer of former deputy Jamel Bradley, and was

responsible for his training, supervision, discipline, and conduct. For purposes of this action,

Captain Ewing is being sued in his individual capacity under the color of state law. Additionally,

during the time-period in question, Captain Ewing was well-aware of Jane Doe-2’s constitutional

rights; including her right to due process, to the possession and control of her own person, her



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Fourteenth Amendment right to bodily integrity, and to be free from any violations of her liberty

interest.

        8.     The multiple occurrences which give rise to this case occurred when Plaintiff, a

minor at the time, attended Spring Valley High School in the County of Richland, State of South

Carolina.

                                     JURISDICTION AND VENUE

        9.     This Court has federal question and supplemental jurisdiction pursuant to 28 U.S.C.

§ 1331 and 28 U.S.C. § 1367 because: (i) the federal law claims arise under the constitution and

statutes of the United States; and (ii) the state law claims are so closely related to the federal law

claims as to form the same case or controversy under Article III of the United States Constitution.

        10.    Venue for this action properly lies in this district pursuant to 28 U.S.C. §1391

because the Defendants are considered to reside in this judicial district and the separate and distinct

acts and occurrences giving rise to the claims occurred in this judicial district.

                                       FACTUAL ALLEGATIONS

        11.    At all times relevant hereto, Jane Doe-2 was a high school student at Spring Valley

High School, a public high school operating within Richland County School District 2. Jane Doe-

2 was seventeen (17) years of age during the time-period set forth in the Complaint.

        12.    Throughout the course of her senior year at Spring Valley High School, Jane Doe-

2 was sexually assaulted by Deputy Jamel Bradley, a school resource officer employed by

Defendant Richland County Sheriff’s Department and supervised by Richland County School

District 2, on and off of the Spring Valley High School campus. The sexual assaults ranged from

sexual advances to oral sex and sexual intercourse. Upon information and belief, each assault at




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the hand of Deputy Bradley constitutes an independent and separate acts of negligence and gross

negligence against the Defendants.

       13.     As set forth below, the Defendants possessed actual and/or constructive knowledge

that that Deputy Bradley had engaged in inappropriate relationships with minor female students,

including Jane Doe-2, yet failed to take any appropriate remedial action to prevent Deputy

Bradley’s predatory conduct towards students, including but not limited to Jane Doe-2. Further,

all Defendants took affirmative deliberate acts to systematically conceal their actual knowledge of

Deputy Bradley’s history of predatory behavior from the Plaintiff, a minor at the time of the

assaults pursuant to S.C. Code Ann. § 15-3-555 (2012), and her parents/natural guardians.

      Reports of Inappropriate Interactions with Minor Female High School Students

       14.     On November 9, 2011, Defendant Richland County Sheriff’s Department opened

the first Internal Affairs investigation into the actions of Deputy Bradley. The complainant, a

teacher and cheerleading coach with Richland County School District 2, informed the Richland

County Sheriff’s Department that it appeared Deputy Bradley was having an inappropriate

interpersonal relationship with a 17-year-old cheerleader. The complainant reported observing the

student and Deputy Bradley flirting, and reported that they appeared to be communicating on their

telephones with each other. The complainant stated that it bothered her to such an extent that she

confronted the student about the relationship with Deputy Bradley. When confronted, the student

told her coach that “the other officers know that he [Bradley] is mine,” and that “it won’t be long

before she is eighteen.” It was later determined that Deputy Bradley had established personal

contact with the minor student via Facebook.

       15.     Despite glaring discrepancies between the statements subsequently taken of Deputy

Bradley and the student regarding the nature of their communications, no further action was taken



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as part of the investigation overseen and approved by Sheriff Lott and the Richland County

Sheriff’s Department, and the report of a potential sexual or romantic relationship with a minor

was closed as “Unfounded” after a less than cursory review. The investigation also revealed two

prior incidents of allegedly improperly conduct with female students by Deputy Bradley.

       16.     According to subsequent testimony from the District-wide Title IX coordinator for

Richland District 2 regarding this 2011 report of suspected sexual harassment, the Title IX

coordinator at each school had been trained to promptly, thoroughly, and impartially conduct a full

investigation upon receiving notice of such a report of possible sexual harassment. The Title IX

coordinator further testified that the District is required to “do everything we can” to take steps to

prevent future reoccurrences of conduct which amounts to harassment. Regrettably, the District

did nothing to investigate this November 2011 report of potentially criminal sexual harassment of

an underage student cheerleader by Deputy Bradley on school premises, or to prevent and track

potential reoccurrences of this conduct by Deputy Bradley as required by Title IX. While the

District-wide Title IX coordinator was specifically notified of the cheerleading coach’s concerns

about Deputy Bradley’s inappropriate behavior, no Title IX investigation was ever undertaken.

       17.     This knowing failure to conduct an investigation (when one was admittedly

warranted) and to properly track this complaint of sexual harassment against Deputy Bradley

allowed the District and its employees to deliberately and systematically conceal Bradley’s

predatory nature, and allowed the District to systematically conceal the fact that it had prior actual

knowledge of Deputy Bradley’s predatory nature.

         18.   Further, the knowing failure to conduct a proper and full internal affairs

 investigation by Sheriff Lott and the Richland County Sheriff’s Department allowed these




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 Defendants to deliberately and systematically conceal Deputy Bradley’s predatory nature and to

 conceal their own knowledge of his predatory nature.

2015 and 2016 Reports of Interpersonal, Improper, and Unconstitutional Interactions with
                                      Jane Doe-2

        19.   Further, the Plaintiff is informed and believes that Defendants possessed actual

 and/or constructive knowledge that Deputy Bradley was specifically engaged in an illegal and

 unconstitutional sexual relationship with Jane Doe-2.

        20.   Specifically, on December 3, 2015 at approximately 10:30 p.m., two Richland

 County Sheriff’s Department undercover narcotic agents were stationed in the Target parking

 lot, located at 10204 Two Notch Rd. in Columbia, SC. They observed a young female pull into

 the empty parking lot and stop near the front corner. The agents reported that it appeared the

 female was either texting or calling someone on her cell phone. A few moments later they

 witnessed a Richland County Sheriff’s Department School Resource Officer vehicle enter the

 parking lot and drive toward the car with the female in it. The Deputy motioned for the young

 female to follow him and they both drove to an area behind the department store. The undercover

 agents waited about two minutes and then drove around to the rear of the department store where

 they had observed the SRO and female go. As they approached, the two vehicles quickly left

 the parking lot.   Concerned by what they had witnessed, the Richland County Sheriff’s

 Department undercover agents ran the license plate through the DMV files and identified the

 driver as Jane Doe-2, then a senior at Spring Valley High School.

        21.   The undercover agents immediately reported this incident to Captain John Ewing

 at around 11:00 pm. Based on what he described as the “sensitivity of this issue and the fact that

 very little people need to know about this,” Captain Ewing skipped the Chain of Command and

 reported the incident directly to Sheriff Lott. According to Captain Ewing, the sensitivity was

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“[t]he fact that an officer is going behind a building at dark with a female, if that got out around

the Richland County Sheriff's Department, everyone would be talking about it.” Instead of

reporting this incident to the Office of Internal Affairs or to SLED, Captain Ewing decided to

conduct what he described as a “supervisory inquiry.” During his deposition in a related matter,

Captain Ewing clarified that this inquiry was not an “investigation.” The goal of his “supervisory

inquiry” was to interview the teenage student and Deputy Bradley to determine if their stories

matched.

       22.   The morning after the Target Incident, Captain Ewing met with Principal Temoney

and Assistant Principal April Shell at Spring Valley High School. He informed them of the

details of the incident and asked to interview the minor student. According to Ms. Shell, Captain

Ewing specifically advised her that Jane Doe-2’s parents did not need be contacted. This lapse

in judgment of failing to involve a student’s parents was later called into question by the Richland

District Two district-wide Title IX coordinator, who testified that she would expect a minor’s

parents to be notified in this situation. Principal Temoney further testified that he would expect

to be contacted if his child was found in similar circumstances, though he took zero action to

contact Jane Doe-2’s parents. It is undisputed that Jane Doe-2’s parents were never contacted.

       23.   Nonetheless, Jane Doe-2 was called to Ms. Shell’s office for an “interview” by

Captain Ewing. Ewing’s stated purpose was to see if the two stories matched. According to

Captain Ewing’s subsequent memorandum, “[d]uring the entire conversation [Jane Doe-2]

appeared to be nervous and upset.” Jane Doe-2 later testified that the “interview” by Defendant

Ewing was “awkward and scary.” Deputy Bradley’s account of the purpose of the meeting was

notably inconsistent with the report of the minor student. Notwithstanding the fact that the

inquiry did not meet its stated purpose (determining whether the statements of the two



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individuals involved matched, which they did not), the “supervisory inquiry” ended that same

day by 12:30 p.m. and resulted only in a “verbal reprimand.”

       24.   Defendant Ewing subsequently conceded that Deputy Bradley’s conduct was

“inappropriate” and displayed “bad judgement,” but defended his conduct as a simple “mistake.”

According to Deputy Bradley’s personnel file, this was the third official reprimand against him

during the course of five years regarding perceived inappropriate relationships with female high

school students.

       25.   Upon information and belief, the report of the Richland County Sheriff’s

Department undercover agents should have been formally investigated by at least the Office of

Internal Affairs, but more appropriately the South Carolina Law Enforcement Division.

Moreoever, this type of investigation should never be conducted “in-house” by Deputy Bradley’s

subordinate supervisor, Defendant Ewing. According to proper police practices, this

“investigation,” which was in fact handled by Deputy Bradley’s supervisor, Defendant Ewing,

without the involvment of then-minor Jane Doe-2’s parents, was far below acceptable

investigory practices for a report of this nature. Additionally, the actions of the Richland County

Sheriff’s Department, more particularly Defendants Lott and Ewing, in keeping this

investigation in-house, concealed, and essentially uninvestigated, demonstrated a reckless

disregard for the rights of Jane Doe-2 who was being actively abused by Deputy Bradley.

       26.   Despite knowledge of Deputy Bradley predatory tendencies, the Defendants made

no recommendations that Deputy Bradley be removed from the SRO program. To the contrary,

Principal Jeff Temoney provided exemplary performance reports for Deputy Bradley for the time

period including the Target Report, of which he was specifically appraised. As set forth above,

Deputy Bradley’s predatory conduct was not investigated, he was not reassigned, he was not



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terminated, and he thereafter continued to utilize his position as an SRO to form illegal sexual

relationships with students of Spring Valley High School, including Jane Doe-2. This deliberate

concealment by Defendants resulted in the Defendants’ liability being concealed from Jane Doe-

2 and her parents until such time as agents of the Defendant Richland County Sheriff’s

Department, including in-house counsel Joanna McDuffie, made repeated attempts to recruit

Jane Doe-2 to testify on behalf of Deputy Bradley and the Sheriff’s Department in related

litigation by showing up repeatedly at the home of her parents and at her place of work. As a

result of these contacts by agents of the Richland County Sheriff’s Department and the

subsequent receipt of a subpoena to testify by Richland County School District 2, Jane Doe-2

retained local counsel and thereafter learned of the misconduct of the Defendants in concealing

their own knowledge of Bradley’s inappropriately sexualized and unconstitutional behavior.

       27. Richland District 2 and Principal Temoney affirmatively chose not to take further

action in total contravention of their duties under Title IX once the 2015 report was summarily

and improperly dismissed by Deputy Bradley’s supervisor. Though the District-wide Title IX

coordinator for the 2015/2016 school year later testified that the commencement of a full and

comprehensive Title IX investigation by the district is what was “should” have happened,

nothing of the sort happened. According to April Shell, the Spring Valley High School Title IX

Coordinator for the 2015/2016 school year, Deputy Bradley’s conduct with Jane Doe-2 was not

appropriate, and should have been thoroughly investigated. However, Shell also confirmed that

Spring Valley performed no Title IX investigation of this report of possible sexual harassment

of a criminal nature against one of its students by an SRO. The failure of Spring Valley staff to

conduct a Title IX investigation was of apparent concern to the District-wide coordinator, Traci

Batchelder, who testified that she “absolutely would” have taken steps to “bend over backwards



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and do back flips to investigate,” had the potential sexual abuse of Jane Doe-2 been reported to

her. However, the District-wide coordinator was not informed, and no investigation was

performed at the direction of Principal Temoney or any other Richland District 2 employee.

These deliberate acts of secrecy and concealment allowed the abuse of Jane Doe-2 to continue,

and further concealed the District’s and Temoney’s own liability and role in allowing the abuse

to continue. Ultimately, agents of the Defendant Richland County Sheriff’s Department,

including in-house counsel Joanna McDuffie, made repeated attempts to recruit Jane Doe-2 to

testify on behalf of Deputy Bradley and the Sheriff’s Department in related litigation by showing

up repeatedly at the home of her parents and at her place of work. As a result of these contacts

by agents of the Richland County Sheriff’s Department and the subsequent receipt of a subpoena

to testify by Richland District 2, Jane Doe-2 retained local counsel and thereafter learned of the

misconduct of the Defendants in concealing their own knowledge of Bradley’s inappropriately

sexualized and abusive behavior toward minor students.

       28.   The knowing failure allowed Richland County School District 2 and Principal

Temoney to deliberately and systematically conceal Bradley’s predatory nature, and further

allowed the Richland County School District 2 and Principal Temoney to systematically conceal

the fact that it had prior actual knowledge of Bradley’s predatory conduct toward Jane Doe-2.

       29.   Further, the knowing failure to conduct a proper investigation by the Richland

County Sheriff’s Department, Sheriff Lott, and Captain Ewing allowed these Defendants to

deliberately and systematically conceal Bradley’s predatory nature, and allowed these

Defendants to systematically conceal the fact that they had actual knowledge of Bradley’s

predatory conduct toward Jane Doe-2.




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                            2016 Report of a Concerned Parent

       30.   On May 23, 2016, approximately six months after the Target incident, another

report was lodged against Deputy Bradley – this time a report that he was explicitly having a

sexual relationship with a high school student at Spring Valley High School. The report was

made by a concerned parent, whose daughter was close friends with Jane Doe-2. Concerned

Parent stated that her daughter had photographs that Deputy Bradley sent her friend as well as a

recorded conversation between her daughter and her friend discussing the relationship with

Deputy Bradley. The Concerned Parent first met with Spring Valley High School Principal Jeff

Temoney. According to an email generated after the meeting, the Concerned Parent indicated

that she was aware of other similar reports against Deputy Bradley which, according to her, were

“covered up” and “brushed aside” by Richland County School District 2. She further reported

that Principal Temoney would “basically insinuate what he knew I wanted to hear to get me out

of his office…. And then do nothing.” Concerned Parent recommended that “all your staff be

trained on NOT having sexual relations with their students, I believe that it is an abuse of power

and needs to be addressed immediately.” Thereafter, Concerned Parent took her concerns to the

Richland County School District 2 superintendent, Dr. Debbie Hamm. Concerned Parent

thereafter met with Assistant Superintendent Baron Davis.          Dr. Davis reported that the

Concerned Parent was “initially hesitant about coming forward because she believed that the

school district would cover it up.” She again confirmed her knowledge of an investigations into

similar conduct against Deputy Bradley.

       31.   Captain Ewing received this report, along with the referenced emails, from

Richland County School District 2 on May 27, 2016. On May 31, 2016, the determination was

made to open an investigation within the Richland County Sheriff’s Department’s Office of



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Internal Affairs. The investigation was closed as “Non-Sustained” approximately one week later

on June 8, 2016. According the 1-page Investigative Summary, Deputy Bradley was interviewed

and denied having a sexual relationship with a student. According to the Internal Affairs

investigatory file, this “investigation” consisted of the investigators asking Deputy Bradley seven

(7) questions.

       32.   After this Internal Investigation was closed, which did not clear or exonerate

Deputy Bradley of wrongdoing, Defendant Ewing testified that he did not consider requiring

Deputy Bradley to undergo any additional training. Additionally, Captain Ewing made no

recommendation that Deputy Bradley be removed from the SRO program.

       33.   As the above allegations indicate, by 2016 there was widespread knowledge,

particularly with Deputy Bradley’s supervisors, Sheriff Lott and Captain Ewing, that Deputy

Bradley was continuing to exhibit predatory behavior toward female high school students at

Spring Valley High School. This behavior was improperly investigated and concealed, which

led to Deputy Bradley continuing to prey on female students.

       34.   Although the concerned parent brought her concerns directly to the principal of

Spring Valley High School, a Richland District Two Administrator, and the Assistant

Superintendent for Richland District Two, these individuals affirmatively chose not to turn the

report over to either the Spring Valley Title IX coordinator or the District-wide Title IX

coordinator in direct contravention of federal law. The District-wide coordinator further testified

that she would have investigated this report had it been properly brought to her attention.

       35.   Richland District Two’s Title IX policies require that the Title IX coordinator

monitor incidents and “address any patterns or systematic problems that arise, including making

school officials aware of these patterns or systematic problems as appropriate.” The District-



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wide Title IX coordinator was not even informed of both reports concerning Jane Doe-2 in 2015

and 2016. This deliberate violation of policy resulted in the School District’s liability being

concealed from Jane Doe-2 until such time as agents of Defendant Richland County Sheriff’s

Department, including in-house counsel Joanna McDuffie, made repeated attempts to recruit

Jane Doe-2 to testify on behalf of Deputy Bradley and the Sheriff’s Department in related

litigation by showing up repeatedly at the home of her parents and at her place of work. As a

result of these contacts by an agents of the Richland County Sheriff’s Department and the

subsequent receipt of a subpoena to testify by Richland District 2, Jane Doe-2 retained local

counsel and thereafter learned of the misconduct of the Defendants in concealing their own

knowledge of Bradley’s inappropriately sexualized and abusive behavior toward minor students.

       36.   Upon information and belief, Deputy Jamel Bradley was charged in May of 2020

with criminal sexual conduct with a minor based upon his assaults upon Jane Doe-2.

       37.   Upon information and belief, Defendants possessed actual knowledge of Deputy

Bradley’s inappropriate actions and/or propensity to harm minor female students on numerous

separate occasions, including specific knowledge regarding Jane Doe-2, yet failed to take any

action against Deputy Bradley, allowing him to continue to foster illegal and inappropriate

sexualized relationships with minor female students, including the Plaintiff, under the guise of a

school resource officer of the Richland County Sheriff’s Department and Richland County

School District 2.

       38.   Plaintiff is informed and believes that Deputy Bradley has been accused of illegal

and inappropriately sexualized relationships with other minor students in connection with his

employment as a school resource officer with the Richland County Sheriff’s Department and

Richland County School District 2.        Moreover, Plaintiff is informed and believes that



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Defendants, including Deputy Bradley’s supervisors, Defendant Sheriff Leon Lott and

Defendant Captain John E. Ewing, Jr., had actual knowledge of Deputy Bradley’s inappropriate

actions and/or propensity to harm minor female students, as other victims and concerned citizens

had reported his conduct on numerous occasions starting shortly after beginning his employment

as a school resource officer at Spring Valley High School.

       39.   As a direct result of the above actions of the Defendants, Jane Doe-2 has been

injured and damaged in that Plaintiff has been deprived of the rights, privileges, and immunities

afforded to the citizens of the State of South Carolina and the United States; has been subject to

sexual assaults, physical and psychological injuries; has endured and will endure mental anguish

and emotional distress; and will incur medical bills in the future; and has been deprived of the

enjoyment of her life.

         FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANT RICHLAND
                       COUNTY SHERIFF’S DEPARTMENT
                          (Negligence / Gross Negligence)

       40.   The above set forth facts are made part of this First Cause of Action through

incorporation by reference.

       41.   Defendant Richland County Sheriff’s Department was acting under the color or

pretense of State law, customs, practices, usage or policy at all times mentioned herein by

employing law enforcement officers, school resource officers, supervisors or other such

personnel and/or employees and had certain duties imposed upon it with regard to Plaintiff.

       42.   The above incidents and Plaintiff’s resulting injuries, sufferings, and damages were

proximately caused by the negligent, grossly negligent, reckless, willful and wanton acts of

Defendant Richland County Sheriff’s Department in the following particulars:




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    a. In failing to exercise reasonable or slight care to protect Plaintiff from harm at the

       hands of its personnel, agents, officers, and/or employees;

    b. In failing to exercise reasonable or slight care to properly train and/or supervise its

       personnel, agents, officers, and/or employees;

    c. In hiring Deputy Bradley and allowing him to interact with children after his pre-

       employment polygraph indicated deceptive responses;

    d. In failing to exercise reasonable or slight care to draft and/or institute proper policy

       and procedure with regard to the hiring and evaluation of its police officers;

    e. In failing to exercise reasonable or slight care to draft and/or institute proper policy

       and procedure necessary to ensure that members of the public are safe and protected

       from physical abuse and threatening behavior;

    f. In failing to exercise reasonable or slight care to draft and/or institute proper policy

       and procedure that would lead to the discovery of inappropriate, threatening actions

       by its employees and prevent the same from occurring;

    g. In failing to exercise reasonable or slight care to make periodic and proper

       investigations and take remedial action as might be necessary to prevent

       inappropriate and/or threatening actions;

    h. In failing to exercise reasonable or slight care to take appropriate time to follow-

       up, review and/or check compliance with policy, state law and/or existing orders;

    i. In failing to exercise reasonable or slight care to take steps necessary to remove,

       fire and/or terminate Deputy Bradley, when they had actual and/or constructive

       notice of his propensities to harm minor female students, including the Plaintiff;




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    j. In failing to exercise reasonable or slight care to properly supervise Deputy

       Bradley;

    k. In failing to properly investigate multiple reports of illegal and inappropriate

       sexualized conduct made against Deputy Bradley;

    l. In only conducting “in house” investigations into the multiple reports made against

       Deputy Bradley, instead of consulting with an independent agency or legal

       authority;

    m. In failing to protect the Plaintiff and other students from Deputy Bradley, when

       they knew or should have known of his propensities;

    n. In failing to exercise reasonable or slight care to provide Plaintiff with proper

       protection from abuse (both physical and mental) at the hands of its school resource

       officer when it had notice of its officer’s propensities towards inappropriate and/or

       abusive behavior;

    o. In conducting itself in an egregious and arbitrary manner;

    p. In threatening, physically assaulting and/or abusing Plaintiff;

    q. In breaching its fiduciary duty of trust with regard to Plaintiff;

    r. In failing to follow and adhere to the local state and national standards, policies and

       procedures including the policies and procedures of the Richland County Sheriff’s

       Department;

    s. In failing to follow and adhere to the policies and procedures of the Richland

       County Sheriff’s Department regarding threatening behavior;

    t. In engaging in a pattern and practice of allowing and/or condoning inappropriate

       conduct on behalf of the Richland County Sheriff’s Department;



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         u. In failing to sufficiently monitor and supervise employees of the Richland County

             Sheriff’s Department;

         v. In failing to have the appropriate policies and procedures in place to provide

             adequate supervision;

         w. In failing to remedy the improper conduct and actions of its employees, including

             Deputy Bradley; and

         x. In failing to exercise even slight care to protect Plaintiff from harm.

       43.   The injuries suffered by Plaintiff at the hands of Defendant Richland County

Sheriff’s Department caused and continues to cause her damages to include and not be limited

to medical expenses, permanent impairment, mental anguish, and pain and suffering. Therefore,

Plaintiff is entitled to ACTUAL and CONSEQUENTIAL DAMAGES.

FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANTS LOTT AND EWING
         (Violation of Federal Civil 42 U.S.C. 1983- Supervisory Liability)

       44.   The above set forth facts are made part of this Second Cause of Action through

incorporation by reference.

       45.   During the time-period in question, Sheriff Lott and Captain Ewing were acting

under the color or pretense of State law, customs, practices, usage or policy at all times

mentioned herein as supervisors and commanding officers within the Richland County Sheriff’s

Department and had certain duties imposed upon him with regard to Plaintiff. Additionally,

during the time-period in question, Sheriff Lott and Captain Ewing were well-aware of Plaintiff’s

constitutional rights, including her right to due process, her liberty interest, and her right to be

free of unjustified intrusions on personal security as protected by the Fourteenth Amendment.

       46.   Upon information and belief, Sheriff Lott and Captain Ewing possessed actual

and/or constructive knowledge that Deputy Bradley was the subject of prior investigations

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regarding reports of illegal and inappropriate sexualized relationships with minor students, had

prior disciplinary actions taken against him, and was not qualified to safely serve as a school

resource officer, and/or interact with minor female students, including the Plaintiff.

        47.   Upon information and belief, Sheriff Lott and Captain Ewing possessed actual

and/constructive knowledge of Deputy Bradley’s inappropriate actions and communications

towards Plaintiff, as well as other minor students, yet took no action to terminate him or prevent

his continued interaction with minor female students of Spring Valley High School.

        48.   Sheriff Lott and Captain Ewing, as Deputy Bradley’s supervising and commanding

officers, possessed the power to prevent the actions of Deputy Bradley. Despite Sheriff Lott and

Captain Ewing’s knowledge that Deputy Bradley’s actions violated Plaintiff’s constitutional

rights, including her right to due process, her liberty interest, and her right to be free of unjustified

intrusions on personal security as protected by the Fourteenth Amendment, Plaintiff alleges

Sheriff Lott and Captain Ewing authorized Deputy Bradley’s actions by consciously and

intentionally failing to act or intervene.

        49.   All of the above-referenced failures are the responsibility of Sheriff Lott and

Captain Ewing who were deliberately indifferent to their responsibility to train, supervise, and

discipline the school resource officers of the Richland County School District, including Deputy

Bradley, who interacted daily with the public and more specifically, minor female students at

Spring Valley High School.

        50.   Defendant Sheriff Lott and Captain Ewing’s response to Bradley’s widespread,

outrageous, unreasonable, and constitutionally injurious (and/or constitutionally dangerous) acts

and misconduct were so lacking and insufficient as to demonstrate deliberate apathy or




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conscience and deliberate indifference towards and/or implicit approval or tolerance of Bradley’s

conduct.

       51.    As the direct and proximate result of the above-mentioned unconstitutional actions

of Defendant Sheriff Lott and Captain Ewing, Plaintiff has been injured and damaged in that she

has been deprived of the rights, privileges and immunities afforded to the citizens of the State of

South Carolina and the United States; has been subject to sexual assaults, physical and

psychological injury; has endured and will endure mental anguish and emotional distress; may

incur medical bills in the future; has been deprived of the enjoyment of her life, thereby entitling

her to an award of ACTUAL, CONSEQUENTIAL, PUNITIVE DAMAGES, costs and

reasonable attorney fees.

           FOR A THIRD CAUSE OF ACTION AGAINST DEFENDANT RICHLAND
                          COUNTY SCHOOL DISTRICT 2
                           (Negligence / Gross Negligence)

       52.    The above set forth facts are made part of this Third Cause of Action through

incorporation by reference.

       53.    Defendant Richland County School District 2 was acting under the color or pretense

of State law, customs, practices, usage or policy at all times mentioned herein by employing

teachers, administrators, school resource officers, supervisors or other such personnel and/or

employees and had certain duties imposed upon it with regard to Plaintiff.

       54.    The above incidents and Plaintiff's resulting injuries, sufferings, and damages were

proximately caused by the negligent, grossly negligent, reckless, willful and wanton acts of

Defendant Richland County School District 2 in the following particulars:

           a. In failing to exercise reasonable or slight care to protect Plaintiff from harm at the

              hands of its personnel, agents, officers, and/or employees;



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    b. In failing to exercise reasonable or slight care to properly train and/or supervise its

       personnel, agents, officers, and/or employees;

    c. In failing to exercise reasonable or slight care to draft and/or institute proper policy

       and procedure with regard to the hiring and evaluation of its school resource

       officers;

    d. In failing to exercise reasonable or slight care to draft and/or institute proper policy

       and procedure necessary to ensure that members of the public are safe and protected

       from physical abuse and threatening behavior;

    e. In failing to exercise reasonable or slight care to draft and/or institute proper policy

       and procedure that would lead to the discovery of inappropriate, threatening actions

       by its employees and/or school resource officers and prevent the same from

       occurring;

    f. In failing to exercise reasonable or slight care to make periodic and proper

       investigations, including Title IX Investigations, and take remedial action as might

       be necessary to prevent inappropriate and/or threatening actions;

    g. In failing to exercise reasonable or slight care to take appropriate time to follow-

       up, review and/or check compliance with policy, state law and/or existing orders;

    h. In failing to exercise reasonable or slight care to take steps necessary to remove,

       fire and/or terminate the services of staff and/or personnel, including Deputy

       Bradley, when it had actual and/or constructive notice of his propensities;

    i. In failing to exercise reasonable or slight care to properly supervise Deputy

       Bradley;




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    j. In failing to protect the Plaintiff and other students from Deputy Bradley, when

       they knew or should have known of his propensities;

    k. In failing to exercise reasonable or slight care to provide Plaintiff with proper

       protection from abuse (both physical and mental) at the hands of its school resource

       officer when it had notice of his propensities of illegal and inappropriate sexualized

       relationships with minor students;

    l. In conducting itself in an egregious and arbitrary manner;

    m. In breaching its fiduciary duty of trust with regard to Plaintiff;

    n. In failing to follow and adhere to the local state and national standards and laws

       regarding the reporting of complaints of sexual assaults against minors;

    o. In failing to report inappropriate, abusive behavior to the appropriate legal

       authorities;

    p. In failing to follow and adhere to the policies and procedures of the Richland

       County School District;

    q. In engaging in a pattern and practice of allowing and/or condoning inappropriate

       conduct on behalf of the Richland County Sheriff’s Department;

    r. In failing to sufficiently monitor and supervise employees of the Richland County

       School District;

    s. In creating a campus environment which subjected Plaintiff to being sexually

       harassed and/or abused by Deputy Bradley;

    t. In failing to have the appropriate policies and procedures in place to provide

       adequate supervision;

    u. In abdicating its responsibility to provide a safe, non-hostile school environment;



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         v. In failing to remedy the improper conduct and actions of its employees; and

         w. In failing to exercise even slight care to protect Plaintiff from harm.

       55.    The injuries suffered by Plaintiff at the hands of Defendant Richland County School

District 2 caused and continues to cause her damages to include and not be limited to medical

expenses, permanent impairment, mental anguish, and pain and suffering. Therefore, Plaintiff is

entitled to ACTUAL and CONSEQUENTIAL DAMAGES.

        FOR A FOURTH CAUSE OF ACTION AGAINST DEFENDANT RICHLAND
                            COUNTY SCHOOL DISTRICT 2
                (Violation of Title IX and Education Amendments of 1972)

       56.    The above set forth facts are made part of this Fourth Cause of Action through

incorporation by reference.

       57.    Defendant Richland County School District 2 was acting under the color or pretense

of State law, customs, practices, usage or policy at all times mentioned herein by employing

teachers, administrators, school resource officers, supervisors or other such personnel and/or

employees and had certain duties imposed upon it with regard to Plaintiff.

       58.    Title IX of the Education Amendments of 1972 applies to an entire school or

institution if any part of that school receives federal funds. Upon information and belief, Title

IX applies to Richland County School District 2 as it receives a wide variety of federal funding

and grants.

       59.    Both the Department of Education and the Department of Justice have promulgated

regulations under Title IX that require a school to “adopt and publish grievance procedures

providing for the prompt and equitable resolution of student... complaints alleging any action

which would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. § 106.8(b).




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       60.   Upon information and belief, the sexual harassment and sexual assaults by Deputy

Bradley violated Title IX of the Education Amendments of 1972 [Title IX], codified at 20 U.S.C.

§§ 1681 et seq. and Title 34 Code of Federal Regulations Part 106.

       61.   The essential purpose of Title IX is to eliminate discrimination on the basis of sex

in any educational program or activity receiving Federal financial assistance. 20 U.S.C. § 1681;

34 C.F.R. § 106.1.

       62.    Upon information and belief, Title IX bestows a remedial and affirmative action

requirement on institutes of education to take such remedial action as necessary to overcome the

effects of such discrimination. 34 C.F.R. § 106.3(a). Therefore, Title IX’s essential purpose to

eliminate sex discrimination by definition seeks to protect other individuals from the possibility

of sex discrimination. As eliminating known sexual discrimination, whether it be in the form of

harassment or abuse, prevents the future sexual harassment of other individuals.

       63.   Title IX requires schools to designate at least one employee to coordinate

compliance with the regulations implementing Title IX. Upon information and belief, despite

multiple reports to the administrators at Spring Valley High School regarding Deputy Bradley’s

predatory behavior towards Jane Doe-2, the reports were actively concealed instead of being

investigated by the Title IX compliance officer. Additionally, the Plaintiff is informed and

believes that there were previous reports of illegal and inappropriate sexualized relationships by

Deputy Bradley which were not investigated by Richland County School District 2, thereby

allowing him to continue to abuse minor female students, including Plaintiff, under the guise of

a school resource officer of the Richland County Sheriff’s Department and Richland County

School District 2.




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       64.   Title IX requires if a school district knows, or even reasonably should have known,

of sexual harassment or sexual assault, the school is responsible for taking immediate effective

action to eliminate the hostile environment and prevent its recurrence. Upon information and

belief, as a result of the sexual assaults being concealed instead of properly investigated, Deputy

Bradley remained as a school resource officer at Spring Valley High School thereby subjecting

Jane Doe-2 to a hostile learning environment which included her being sexually assaulted on

nearly a daily basis while attending school.

       65.   As the direct and proximate result of the above-mentioned unconstitutional actions

of Defendant Richland County School District 2, Plaintiff has been injured and damaged in that

she has been deprived of the rights, privileges and immunities afforded to the citizens of the State

of South Carolina and the United States; has been subject to sexual assault, physical and

psychological injury; has endured and will endure mental anguish and emotional distress; has

endured a hostile learning environment; may incur medical bills in the future; has been deprived

of the enjoyment of her life, thereby entitling her to an award of ACTUAL and

CONSEQUENTIAL DAMAGES, as well as costs and reasonable attorneys’ fees.

        FOR A FIFTH CAUSE OF ACTION AGAINST DEFENDANTS RICHLAND
       COUNTY SHERIFF’S DEPARTMENT AND RICHLAND COUNTY SCHOOL
                                    DISTRICT 2
                    (Negligent Hiring, Supervision, and Retention)

       66.   The above set forth facts are made part of this Fifth Cause of Action through

incorporation by reference.

       67.   Defendants Richland County Sheriff’s Department and Richland County School

District 2 had a duty to use reasonable care to select an employee, agent, and/or school resource

officer who was competent and fit to perform the duties required as an employee. Defendants

owed such a duty to Plaintiff and such duty was breached.

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       68.   Defendants knew or should have known that Deputy Bradley was deceptive and

untruthful during his pre-employment screening, disqualifying him to serve as a law enforcement

officer with the Richland County Sheriff’s Department without further investigation.

       69.   Defendants knew that Deputy Bradley’s position as a school resource officer at

Spring Valley High School placed him in constant contact with Plaintiff and other minor

students.

       70.   Defendants knew, or should have known, that Deputy Bradley was sexually

assaulting Plaintiff. Additionally, Defendants knew, or should have known, that Deputy Bradley

was the subject of prior investigations regarding reports of illegal and inappropriate sexualized

relationships with minor students, had prior disciplinary actions taken against him, and was not

qualified to safely serve as a school resource officer, and/or interact with minor female students,

including the Plaintiff.

       71.   Defendants Richland County Sheriff’s Department and Richland County School

District 2 failed to take the steps necessary to remove, fire, and/or terminate the services of

Deputy Bradley, when they had actual and/or constructive notice of Deputy Bradley’s actions

and propensities.

       72.   Defendants Richland County Sheriff’s Department and Richland County School

District 2 failed to provide Plaintiff with proper protection from abuse (physical, sexual, and

mental) at the hands of its employees, agents, and/or school resource officers when it had notice

of Deputy Bradley’s propensities toward inappropriate and/or abusive behavior.

       73.   The injuries suffered by Plaintiff at the hands of Defendants Richland County

Sheriff’s Department and Richland County School District 2 caused and continues to cause her

damages to include and not be limited to medical expenses, permanent impairment, mental



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anguish, and pain and suffering. Therefore, Plaintiff is entitled to ACTUAL and

CONSEQUENTIAL DAMAGES.

               FOR A SIXTH CAUSE OF ACTION AGAINST JEFF TEMONEY
             (Violation of Federal Civil 42 U.S.C. 1983- Supervisory Liability)

       74.   The above set forth facts are made part of this Sixth Cause of Action through

incorporation by reference.

       75.   During the time-period in question, Principal Temoney was acting under the color

or pretense of State law, customs, practices, usage or policy at all times mentioned herein as the

principal of Spring Valley High School. Additionally, during the time-period in question,

Principal Temoney was well-aware of Plaintiff’s constitutional rights, including her right to due

process, her liberty interest, and her right to be free of unjustified intrusions on personal security

as protected by the Fourteenth Amendment.

       76.   Upon information and belief, Principal Temoney possessed actual and/or

constructive knowledge that the school resource officer within his school was the subject of prior

investigations regarding reports of illegal and inappropriate sexualized relationships with minor

students, including the Plaintiff, had prior disciplinary actions taken against him, and was not

qualified to safely serve as a school resource officer, and/or interact with minor female students,

including the Plaintiff.

       77.   Upon information and belief, Principal Temoney possessed actual and/constructive

knowledge of Deputy Bradley’s inappropriate actions and communications towards Plaintiff, as

well as other minor students, yet took no action to terminate him or prevent his continued

interaction with minor female students of Spring Valley High School.

       78.   Principal Temoney, as the principal of Spring Valley High School with the power

to remove school resource officers from his school, possessed the power to prevent the actions

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 of Deputy Bradley. Despite Principal Temoney’s knowledge that Deputy Bradley’s actions

 violated Plaintiff’s constitutional rights, including her right to due process, her liberty interest,

 and her right to be free of unjustified intrusions on personal security as protected by the

 Fourteenth Amendment, Plaintiff alleges Principal Temoney authorized Deputy Bradley’s

 actions by consciously and intentionally failing to act or intervene.

         79.   All of the above-referenced failures are the responsibility of Principal Temoney

 who was deliberately indifferent to his responsibility to supervise, and request reassignment of

 predatory and or unfit school resource officers within Spring Valley.

         80.   Defendant Principal Temoney’s response to Bradley’s widespread, outrageous,

 unreasonable, and constitutionally injurious (and/or constitutionally dangerous) acts and

 misconduct were so lacking and insufficient as to demonstrate deliberate apathy or conscience

 and deliberate indifference towards and/or implicit approval or tolerance of Bradley’s conduct.

         81.   As the direct and proximate result of the above-mentioned unconstitutional actions

 of Defendant Principal Temoney, Plaintiff has been injured and damaged in that she has been

 deprived of the rights, privileges and immunities afforded to the citizens of the State of South

 Carolina and the United States; has been subject to sexual assaults, physical and psychological

 injury; has endured and will endure mental anguish and emotional distress; may incur medical

 bills in the future; has been deprived of the enjoyment of her life, thereby entitling her to an

 award of ACTUAL, CONSEQUENTIAL, PUNITIVE DAMAGES, costs and reasonable

 attorney fees.

       WHEREFORE, Plaintiff prays for judgment against the Defendants both jointly and in

combination thereof for ACTUAL, CONSEQUENTIAL AND PUNITIVE DAMAGES, costs and

reasonable attorney fees. Plaintiff submits that each and every sexual assault presented different



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injuries and damages which contributed to the overall injuries Plaintiff suffered, as described

above. Plaintiff demands a trial by jury as provided for in the Seventh Amendment to the

Constitution of the United States of America.

                                                     Respectfully Submitted,

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June 16, 2020
Georgetown, South Carolina




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